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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                                 Chapter 11

 TOUGH MUDDER INCORPORATED;                             Case No. 20-10036 (CSS)
 TOUGH MUDDER EVENT PRODUCTION                          Case No. 20-10037 (CSS)
 INCORPORATED

                         Debtors.



                  APPLICATION OF THE UNITED STATES TRUSTEE
              FOR ENTRY OF AN ORDER APPROVING THE APPOINTMENT
                OF DEREK C. ABBOTT, ESQ., AS CHAPTER 11 TRUSTEE

          Andrew R. Vara, United States Trustee for Regions Three and Nine (the “United States

Trustee”), through his undersigned counsel, hereby applies to this Court pursuant to Rule 2007.1

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for entry of an order

approving the appointment of Derek C. Abbott, Esq. as the chapter 11 trustee in the above-

captioned cases (the “Application”). In support of the Application, the United States Trustee

respectfully represents as follows:

                                            Jurisdiction

                 1.     This Court has jurisdiction over the Application pursuant to 28 U.S.C. §

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue in this Court is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

                 2.     Pursuant to 28 U.S.C. § 586(a)(3), the United States Trustee is charged with

administrative oversight of the bankruptcy system in this District. Such oversight is part of the

United States Trustee’s overarching responsibility to enforce the laws as written by Congress and

interpreted by the courts.     See United States Trustee v. Columbia Gas Systems, Inc. (In re

Columbia Gas Systems, Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that United States Trustee
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has “public interest standing” under 11 U.S.C. § 307 which goes beyond mere pecuniary interest);

Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d 498, 500 (6th Cir. 1990)

(describing the United States Trustee as a “watchdog”); see also 11 U.S.C. § 1104(e) (United

States Trustee shall seek appointment of a trustee in appropriate circumstances); 28 U.S.C. §

586(a)(8) (United States Trustee’s responsibility to seek relief under 11 U.S.C. § 1112(b) in

appropriate circumstances).

                                          Background

               3.     On January 21, 2020, this Court entered the Order Directing the

Appointment of a Chapter 11 Trustee (the “Order”).

               4.     Pursuant to the Order, the United States Trustee has appointed Derek C.

Abbott, Esq. as chapter 11 trustee (the “Proposed Trustee”) in the above-captioned cases. A copy

of the Notice of Appointment is attached hereto as Exhibit A.

               5.     Counsel for the United State Trustee has consulted with the following

parties-in-interest regarding the appointment of the Trustee: (i) David Carickhoff, Esq., Archer &

Greiner, P.C., counsel to the petitioning creditors, (ii) Frank White, Esq., Arnall Golden Gregory

LLP, counsel to Active Network, LLC, and (iii) Adrienne Walker, Esq., Mintz Levin, Cohen,

Ferris, Glovky and Popeo, P.C., counsel to Spartan Race, Inc.

               6.     To the best of the United States Trustee’s knowledge, the Proposed

Trustee’s connections with the Debtors, creditors, any other parties in interest, their respective

attorneys, the United States Trustee, and persons employed in the Office of the United States

Trustee, are limited to the connections set forth in the Declaration of Mr. Abbott attached hereto

as Exhibit B. Attached as Exhibit C is a Declaration of Mr. Abbott setting forth other relevant

information.



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               WHEREFORE, the United States Trustee requests that the Court enter an order,

substantially in the form attached hereto as Exhibit D, approving the appointment of Derek C.

Abbott, Esq. as chapter 11 trustee in the above-captioned cases.

 Dated: January 29, 2020                        Respectfully submitted,
        Wilmington, Delaware
                                                ANDREW R. VARA
                                                UNITED STATES TRUSTEE, REGIONS
                                                THREE AND NINE

                                                By: /s/ Jane Leamy
                                                Jane Leamy (DE ID 4113)
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